      Case 2:14-cr-00021-RMP     ECF No. 715    filed 06/03/14   PageID.2032 Page 1 of 1




 1
 2
 3
 4                         UNITED STATES DISTRICT COURT
 5                       FOR THE DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                      No. 2:14-CR-021-RMP-23

 8                      Plaintiff,                ORDER GRANTING
 9                                                MOTION TO MODIFY
     vs.
10
11 BRETT A. LUTON,
12
                        Defendant.
13
14
           The Defendant has moved the Court for an order to temporarily remove his
15
16   GPS monitoring unit from his ankle so that he may have an MRI on June 5, 2014.
17   The Court being fully advised,
18
           IT IS ORDERED that Defendant’s Second Motion to Modify Conditions of
19
20   Release, ECF No. 714, is GRANTED, on the condition that Defendant report as
21
     directed by the Pretrial Services Officer for temporary removal of the monitor, and
22
23   again as directed for the re-attachment of the monitor.
24
           DATED June 3, 2014.
25
26                                   _____________________________________
27                                             JOHN T. RODGERS
                                      UNITED STATES MAGISTRATE JUDGE
28



     ORDER GRANTING MOTION TO MODIFY - 1
